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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                      Criminal No. 22-40 (JRT/LIB)



UNITED STATES OF AMERICA,

                   Plaintiff,                   GOVERNMENT’S NOTICE
            v.                                  OF INTENT TO OFFER
                                                EVIDENCE UNDER
(1) HARSHKUMAR RAMANLAL PATEL                   FEDERAL RULES OF
a/k/a “Dirty Harry,”                            EVIDENCE 902(11), (13),
a/k/a Harry Patel,                              AND (14)
a/k/a Param Singh,
a/k/a Haresh Rameshlal Patel,
a/k/a Harshkumar Singh Patel, and
(2) STEVE ANTHONY SHAND,

                   Defendants.


      The United States of America by and through its attorneys, Andrew M.

Luger, United States Attorney for the District of Minnesota, Assistant United

States Attorney Michael P. McBride and Trial Attorney Ryan Lipes, hereby

gives notice of its intent to offer evidence under Federal Rules of Evidence

902(11), (13), and (14).

                                INTRODUCTION

      Defendants Harshkumar Ramanlal Patel and Steve Anthony Shand

have been indicted by a grand jury for, among other things, conspiring to bring

aliens to the United States and transport aliens within the United States,

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resulting in serious bodily injury and placing lives in jeopardy. Trial is set to

begin on November 18, 2024.

      The government anticipates moving for the admission of business

records and cell phone extractions (or portions of cell phone extractions), which

have been provided to the defense in discovery. This pleading provides notice

of the government’s intent to use declarations and certifications under Federal

Rules of Evidence 902(11), (13), and (14).

   I. Self-Authenticating Documents Under Rule 902(11)

      The Federal Rules of Evidence allow for business records to be admitted

in evidence at trial without a custodian of records testifying about their

authenticity. See Fed. R. Evid. 902(11). Rule 902(11) also directs the party

intending to offer a record in evidence under the rule to provide notice and to

make the documents and declarations available to the opposing party.

      Federal Rule of Evidence 104(a) provides that preliminary questions

concerning the admissibility of evidence shall be determined by the Court, and

that in making such determinations courts are “not bound by the rules of

evidence” (except those with respect to privileges). The government seeks to

admit the documents themselves and not the declarations.

      Under Rule 902(11), the government hereby gives notice that its trial

exhibits   may include business records from           the following    entities,

authenticated by a certification of the records custodian:

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Entity              Summary of            Bates           Bates Numbers
                    Records               Number of       of Underlying
                                          902(11)         Records
                                          Certification
T-Mobile US, Inc.   Subscriber, Call      695             667-733
                    Detail, Cell Site,
                    and Timing
                    Advance Records
                    for (386) 265-2408
                    and (646) 610-0618
T-Mobile US, Inc.   Subscriber, Call      735             734-754
                    Detail, Cell Site,
                    and Timing
                    Advance Records
                    for (386) 479-5315
Verizon             Subscriber, Call      773             766-801
                    Detail, and Cell
                    Site Records for
                    (386) 209-1996
Bank of America     Bank of America       5888-5889       5135-7079
                    accounts -1110
                    (Shand’s Taxi,
                    LLC), -0875
                    (Stephanie Brown),
                    -1123 (Shand’s
                    Taxi, LLC), -3869
                    (Steve Shand), -
                    7033 (Steve Shand
                    and Stephanie
                    Brown), and -8879
                    (Stephanie Brown)
Enterprise          Car rental records    2012            622-629
                    for Enterprise,
                    Alamo, and
                    National for Steve
                    Shand
Avis                Rental car records    7366            7367
                    for Stephanie
                    Brown
Hertz               Rental car records    2021            2027-2029
                    for Fenil Patel

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Delta               Shand’s Delta         617             503-515
                    records
Delta               Stephanie Brown’s     7368            7369-7376
                    Delta records
Southwest           Steve Shand’s         2045            632-641
                    Southwest records
Kittson Health      Medical records for   1083            1082-1132
Care                victims P.C. and
                    M.P.
HealthPartners      Medical records for   1134            1133-1534
                    victim P.C.
Capital One         Capital One           Certification   Records provided
                    account -2498         provided by     by email; bates
                    (Haresh Patel)        email; bates    stamped version
                                          stamped         forthcoming
                                          version
                                          forthcoming


      As noted above, the certifications and the underlying records have been

provided in discovery.

   II. Self-Authenticating Records Under Rules 902(11), (13) and (14)

      The Federal Rules of Evidence provide that certain records are self-

authenticating through certification under Federal Rules of Evidence 902(13)

and 902(14):

     902(13) Certified Records Generated by an Electronic Process
     or System. A record generated by an electronic process or system
     that produces an accurate result, as shown by a certification of a
     qualified person that complies with the certification requirements
     of Rule 902(11) or (12). The proponent must also meet the notice
     requirements of Rule 902(11).

     902(14) Certified Data Copied from an Electronic Device,
     Storage Medium, or File. Data copied from an electronic device,
     storage medium, or file, if authenticated by a process of digital

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     identification, as shown by a certification of a qualified person that
     complies with the certification requirements of Rule (902(11) or
     (12). The proponent also must meet the notice requirements of Rule
     902 (11).

      Under Rules 902(11), (13), and (14), the government hereby gives notice

that its trial exhibits may include the following certified cell phone extractions,

or portions of those extractions:

 Extraction        Summary of Extraction          Certification Certification
 File Name                                        Exhibit       Signed By
                                                  Number
 A12_2022-03-      Steve Shand’s Samsung          Exhibit 1     Special Agent
 01_Report.ufdr    Galaxy A12 with IMEI                         Jesse Smith
                   number 359011830852004,
                   using the phone number
                   (386)-209-1996
 G991U_2022-       Steve Shand’s Samsung          Exhibit 1         Special Agent
 03-               Galaxy S21 Model SM-                             Jesse Smith
 02_Report.ufdr    G991U with IMEI number
                   350336260884618, using
                   the phone number (386)-
                   479-5315
 GK24-0025         Harshkumar Patel’s Cell        Exhibit 2         Lisa Gemar
 iPhone 13 Pro-    Phone
 Max.ufdr


      These cell phone extractions have all been turned over as native media

(via flash drive or hard drive) in discovery. Should counsel need a new copy,

please contact us at your earliest convenience.

      These certifications, in compliance with Federal Rules of Evidence

902(11), (13), and (14), are attached to this notice as Exhibits 1 and 2.



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                             CONCLUSION

      The government hereby provides notice of its intent to introduce

business records and cell phone extractions through Rule 902(11), (13), and

(14) declarations.

Dated: October 21, 2024            Respectfully submitted,
                                   ANDREW M. LUGER
                                   United States Attorney

                             By:    /s/ Ryan Lipes
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